






NO. 07-05-0390-CR


NO. 07-05-0391-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 20, 2005


______________________________



ROSS DANIEL MONNETT, 



								Appellant


v.



THE STATE OF TEXAS, 



								Appellee

_________________________________



FROM THE 251st DISTRICT COURT OF POTTER COUNTY;



NOS. 49,127-C and 49,128-C; HON. PATRICK PIRTLE, PRESIDING


_______________________________



ORDER OF DISMISSAL


_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

	Ross Daniel Monnett appeals his convictions for possessing a controlled substance. 
He pled guilty to the offenses in accordance with a plea bargain and confessed to the
accusations in the indictments.  Upon determining that his plea was knowing and voluntary,
the trial court found him guilty of the offenses and assessed punishment within the range
recommended by the prosecutor.  As part of the bargain, appellant also waived his right
to appeal the causes, and the trial court certified, pursuant to Texas Rule of Appellate
Procedure 25.2(a)(2) and (d), that he had no right to appeal them.  

	According to Rule 25.2(a)(2) of the Texas Rules of Appellate Procedure, the trial
court must certify whether or not the appellant has the right to appeal.  If such a
certification has not been executed, the appeal must be dismissed.  Tex. R. App. P.
25.2(d).  Here, the trial court did not certify that appellant had a right to appeal; quite the
contrary, it certified that he did not.  Accordingly, the appeals are dismissed per Texas Rule
of Appellate Procedure 25.2(d).


							Per Curiam




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